(Official Form 1) (20/05)

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FORM B1, Page }

 

United States Bankruptcy Court

District of Delaware

Voluntary Petition

 

 

Name of Debtor (if individual, enter Last, First, Middle):

Werner Holding Co. (DE), Inc.

Name of joint Debtor (Spouse) (Last, First, Middie}:
N/A

 

All Other Names used by the Debtor in the last 8 years
(include married, maiden, and trade names):

Ad Valorem Properties, Inc.
ARDEE Investment Co., Inc.

Manufacturers Indemnity and Insurance Company of America

Olympus Properties, Inc.
Wentwerth Instituienal Realty, Inc.
Werner Financial Inc.

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):
N/A

 

Last four digits of Soc. Sec./Complete EIN or other Tax 1.D. No. Gif more

than one, state aff}: XX-XXXXXXX

Last four digits of Soc. See “Complete EYN or other Tax ].D. No. (if more
than one, state all: N/A

 

Street Address of Debtor (No. & Street, City, and State):

1105 North Market Street, Suite 1300
Wihnington, Delaware

 

ZIP CODE
19801

 

Street Address of Joint Debtor (No. & Street, City, and State):
N/A

 

ZIP CODE

 

 

County of Residence or of the Principal Place of Business:

New Castle County

County of Residence or of the Principal Place of Business:
N/A

 

Mailing Address of Debtor (if different from street address):

P.O. Box 8985
Wilmington, Delaware

 

 

 

Mailing Address of Joint Debtor {if different frorn street address):

 

 

 

ZIP CODE ZIP CODE
19899-8985
Location of Principal Assets of Business Debtor (if different from street address above):
ZIP CODE

 

 

Type of Debtor (Form of Organization)
{Check one box.)

£"] Individual (includes Joint Debtors)
59 Corporation (includes LLC and LLP)
C] Partnership

CO Other ([f debtor is not one of the above
entities, check this box and provide the
information requested below.)

State type of entity

 

Nature of Business
(Check all applicable boxes.)

[J Health Care Business

(C] Single Agset Real Sstate as defined in
1 U.S.C. § 108(51B}

[J Railroad

C1] Stockbroker

{1 Commodity Broker
OD Clearing Bank

U1 Noxprofit Organization qualified under
15 U.S.C. § SO1(e)(3}

Chapter of Bankruptey Code Under Which
the Petition is Tiled (Check one box)

C] Chapter? =] Chapter |i (C1 Chapter 15 Petition for Recognition
C] Chapter9 — [[] Chapter 12 ofa Forcign Main Proceeding
£] Chapter 13 (C] chapter 15 Petition for Recognition

ofa Foreign Nonmain Proceeding

 

Nature of Debts (Check one box)

( Consumer/Non-Business El Business

 

Chapter 11 Debtors

 

Filing Fee (Check one box}

G2 Full Filing Fee attached

U1 Filing Fee to be paid in installments (Applicable 10 individuals only)
Must attach signed application for the court's consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

(Fl Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach
signed application for the court's consideration. See Official Form 3B.

Check one box:

(1 Debtor is a small business debtor as defined in 1] U.5.C. § 101(51D).
Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
Check if:

[] Bebtor's aggregate noncontingent liquidated debts owed to non-insiders or
> Bareg un
affliates are less than $2 million,

 

 

Statistical/Administrative Information
Debtor estimates that funds will be available for distribution to unsecured creditors.

(3 Debtor estimates that, aller any exempt property is excluded and administrative expenses paid, there will be no finds available for

distribution to unsecured creditors.

THIS SPACE iS FOR COURT USE ONLY

 

Estimated Number of
Creditors’

 

 

 

1- 50- 100- 200. 1,000- 5,G0%- 10,003 25,001- 30,001 - OVER

49 99 199 999 §,000 £0,000 25,000 $0,000 100,000 100,660

Cl fi EJ 0 E} ci EI a oO im}
Estimated Assets”
$0 to $56,001 to $100,001 to $500,001 to $1,000,00i to $10,000,001 to $50,000,001 to = More than
$50,000 $100,000 $500,000 $i million $10 milion $59 million $100 raiilion $100 million
A ti oO cl i
Estimated Debts"
$0 to $50,001 to $100,001 to © $500,0C] to =: $1,000,061 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $16 million $50 million $400 million $100 million
a C Oo O i

 

 

 

The Debtor’s financial records are maintained on a consolidated basis with the entities identified on the schedule annexed hereto as Allachment A.
Accordingly, individualized information as to the number of creditors, assets, and liabilities of the Debtor is not currently available.

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FORM BI, Page 2

 

Voluntary Petition
(This page must be completed and filed in every case)

Name of Debtor(s):
Werner Holding Co. (DE), Inc.

 

Prior Bankruptey Case Filed Within Last § Years (if more than one, attach additional sheet)

 

 

 

 

 

 

Location Case Number: Date Filed:
Where Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor: Case Number: Date Filed:
See Attachment A
District: Relationship: Fudge:
Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (¢.g., forms
{GK and 100) with the Securities and Exchange Commission pursuant to Section
13 or 15(d} of the Securities Exchange Act of 1934 and is requesting relief under
chapter 11}

[J Bxhibit A is attached and made a part of this petition.

(To be completed it debtor is an individual

whose debts are primarily consumer debts)
I, the attomey for the petitioner named in the foregoing petition, declare that
{ have informed the petitioner that [he or she] may proceed under chapter 7,
11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter.
I further certify that 1 delivered to the debtor the notice required by § 342(b}
of the Bankruptey Code.

x
Signature of Attorney for Debtor(s}

 

Date

 

Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to
pose a threat of imminent and identifiable harm to public health or safety?

Ol Yes, and Exhibit C is attached and made a part of this petition.

Certification Concerning Debt Counseling
by Individual/Joint Debtor(s)

C} Lave have received approved budget and credit counseling during the 180-day
period preceding the filing of this petition.

{Cl Vwe request a waiver of the requirement to obtain budget and credit

 

 

Bi No counseling prior to filing based on exigent circumstances. (Must attach
certification describing.)
Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)
52 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180

days immediately preceding the date of this petition or for a fonger part of such 180 days than in any other District.

There is a bankruptcy case conceming debtor's affiliate, general partner, or partnership pending in this District.
Pp g Pp

Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States
in this District, or has no principal place of business or assets in the United States but is a defendant in an action or
proceeding fin a federal or state court] in this District, or the interests of the parties will be served in regard to the relief

sought in this District.

 

 

Statement by a Debtor Who Resides as a Tenant of Residential Property
Check all applicable boxes.

C1 Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the

following.}

 

{Name of landlord that obtained judgment)

 

(Address of landlord)

Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be

permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for

possession was entered, and

(1 Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-

day period after the filing of the petition.

 

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FORM B1, Page 3

 

Voluntary Petition
(This page musi be completed and filed in every case)

Name of Debtor(s}:
Werner Helding Co. (DE), inc.

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)

1 declare under penalty of perjury that the information provided in this petition is
true and correct.

[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] | am aware that | may proceed under chapter 7, 11,
12 or 13 of title 11, United States Code, understand the relief available under each
such chapter, and choose to proceed under chapter 7.

[if no attorney represents me and no bankruptcy petition preparer signs the
petition] I have obtained and read the notice required by § 342(b) of the
Bankruptcy Code.

 

 

 

 

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is
true and correct, that | am the foreign representative of a debtor in a foreign
proceeding, and that | am authorized to file this petition.

(Check only one box.)

(1 I request relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by § 1515 of title #1 are attached.

 

 

 

 

I request relief in accordance with the chapter of title Ll, United States Code, [] Pursuant to § 1511 of title 11, United States Code, I request relief in
specified in this petition. accordance with the chapter of title 11 specified in this petition. A certified
copy of the order granting recognition of the foreign main proceeding is
x attached.
Signature of Debtor
x x
Signature of Joint Debtor (Signature of Foreign Representative)
Telephone Number (If not represented by attorney) (Printed Name of Foreign Representative)
Date Date
Signature of Attorney Signature of Non-Attorney Bankruptcy Petition Preparer
i declare under penalty of perjury that: (1) | am a bankruptcy petition preparer as
X defined in 11 U.S.C, § 110; (2) f prepared this document for compensation and

   
 
   

f Attorney for Debtor(s)

Robert 8. Brady
Young Conaway Stargatt & Taylor, LLP
1000 West Street, 17th Floor
Wilmington, Delaware 19899-0391
302-571-6600

6 [i2z[0l

Date

have provided the debtor with a copy of this document and the notices and
information required under 1! U.S.C. 8§ 110(b), 110(0h), and 342(b); and, GB)
rules or guidelines have been promulgated pursuant to 11 U.S.C. § T10{h) setting
a maximum fee for services chargeable by bankruptcy petition preparers, t have
given the debtor notice of the maximum amount before preparing any document
for filing for a debtor or accepting any fee from the debtor, as required in that
section. Official Form 19B is attached.

 

Printed Name and tile, ifany, of Bankruptcy Petition Preparer

 

Social Security number (If the bankruptcy petition preparer is not an individual,
state the Social Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by 17 U.S.C. § 110.)

 

Address

 

 

Signature of Debtor (Corporation/Partnership)

{ dectare under penalty of perjury thal the information provided in this petition is
true and correct, and that [ have been authorized to file this petition on behalf of
the debtor. |

The debtor requestgyelief in accordance with the chapter of title 12, United States

Code, spec,

   

 

Printed Namé of Authorized Individual

Vice President, Chief Financial Officer, and Treasurey
Title of Authorized Individual

vo/12e/ ee
Date { {

 

 

 

Date

Signature of Bankruptcy Petilion Preparer or officer, principal, responsible
person, or partner whose social security number is provided above.

Names and Social Security numbers of all other individuals who prepared or
agsisted in preparing this document unless the bankruptcy petition preparer is not
an individual:

If more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title
and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both 17 U.S.C, § 110; 18 USC. § 136.

 

 

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ATTACHMENT A
Pending Bankruptcy Cases Filed by Affiliates of the Debtor

Concurrently herewith, each of the affiliated entities listed below (collectively, the
“Affiliated Debtors”) filed a petition in this Court for relief under chapter 11 of title 11 of the
United States Code, 11 U.S.C. §§ 101-1330. Contemporaneously with the filing of their
voluntary petitions, the Debtors filed a motion requesting that the Court consolidate their chapter
11 cases for administrative purposes only.

The Affiliated Debtors are the following entities:

Werner Holding Co. (PA), Inc.
Werner Co.
WIP Technologies, Inc.

3192609
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CERTIFICATE OF RESOLUTIONS

I, Eric J. Wermer, Director, Vice President, Secretary, General Counsel, and

Corporate Ethics Officer of Werner Holding Co. (DE), Inc., a Delaware corporation (the
“Company”), hereby certify that a special meeting of the Board of Directors of the Company was
duly called and held on the following resolutions, which were duly adopted in accordance with
the requirements of the Delaware General Corporation Law, and that said resolutions have not
been modified or rescinded and are still in full force and effect on the date hereof:

3192609

RESOLVED, that, in the judgment of the Board of Directors of the Company, it is
desirable and in the best interests of the Company, its creditors, employees, and other
interested parties for the appropriate officers of the Company (together, the “Authorized
Officers’’) to: (i) file a voluntary petition for relief under the provisions of chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and (ii) enter
into a Superpriority Debtor-in-Possession Credit and Guaranty Agreement (the
“Agreement”’) among the Company, the Affiliated Debtors, and Black Diamond
Commercial Finance LLC; and it was further

RESOLVED, that the law firm of Willkie Farr & Gallagher LLP, 787 Seventh
Avenue, New York, New York 10019, is hereby employed as co-counsel for the Company
in the Company’s chapter 11 case; and that the law firm of Young Conaway Stargatt &
Taylor, LLP, 1000 West Street, 17th Floor, P.O. Box 391, Wilmington, Delaware 19899-
0391, is hereby employed as co-counsel for the Company in the Company’s chapter 11
case; and that Rothschild Inc., 1251 Avenue of the Americas, New York, New York
10020, is hereby employed as financial advisors and investment bankers for the Company
in the Company’s chapter 11 case; and that Loughlin Meghji + Co., 148 Madison Avenue,
New York, New York 10016, is hereby employed as restructuring consultants for the
Company in the Company’s chapter 11 case; each employment subject to Bankruptcy
Court approval; and it was further

RESOLVED, that each of the Authorized Officers are hereby authorized,
empowered, and directed, in the name and on behalf of the Company, to execute and file
all petitions, schedules, motions, lists, applications, pleadings, and other papers, and, in
that connection, to employ and retain all assistance by legal counsel, accountants, financial
advisors, and other professionals, and to take and perform any and all further acts and
deeds which they deem necessary, proper, or desirable in connection with the Company’s
chapter 11 case, with a view to the successful prosecution of such case; and it was further

RESOLVED, that the Company and any Authorized Officer be, and hereby is,
authorized and directed to (a) enter into any agreement or agreements to re-purchase (the
“Re-Purchase”) Werner Co. accounts receivables sold pursuant to that certain Purchase
and Sale Agreement with Werner Funding Corporation, Inc. (“Werner Funding”), dated
May 10, 2005, and which serves as collateral for the obligations of Werer Funding under
that certain Accounts Receivable Financing Facility, dated May 10, 2005, (b) utilize
proceeds provided under the Agreement to effectuate the such Re-Purchase, and (c) take
any and all other and further actions, including without limitation the provision of any
indemnification and the execution and delivery of additional agreements and instruments,
which such Authorized Officer or the Company’s legal counsel may deem necessary or
appropriate to effect the Re-Purchase and any related transactions; and it was further
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RESOLVED, that each of the Authorized Officers are hereby authorized,
empowered, and directed, in the name and on behalf of the Company, to cause the
Company to enter into, execute, deliver, certify, file and/or record, and perform such
agreements, instruments, motions, affidavits, applications for approvals or ruling of

. governmental or regulatory authorities, certificates, or other documents, and to take such

other action, as in the judgment of such officer shall be or become necessary, proper, and

desirable to effectuate a successful reorganization of the Company’s business; and it was
further

RESOLVED, that the terms and provisions of the Agreement submitted in draft
form to this Board of Directors be, and hereby are, approved in all respects, and that any
Authorized Officer is hereby authorized and directed to execute and deliver the
Agreement on behalf of the Company with such changes, amendments, and additional

provisions as any Authorized Officer shall deem necessary and appropriate; and it was
further

RESOLVED, that the Company be, and hereby is, authorized and directed to
enter into any additional agreement provided for in or contemplated under the Agreement
or otherwise necessary to carry out the transactions contemplated thereunder, including
the execution of a guaranty, the granting of superpriority administrative claims and of
liens on substantially all of its assets, such agreements to include, without limitation,
priming notes, security agreements, mortgages, pledge agreements, collateral agreements,
control agreements, intercreditor agreements, assignments, and any other agreements,
documents, instruments, certificates, or writings of any kind whatsoever, and any
Authorized Officers are hereby authorized and directed to execute and deliver the same
on behalf of the Company, and to take any and all such other and further actions which
such Authorized Officer or the Company’s legal counsel may deem necessary or

appropriate to affect the transactions contemplated under the Agreement; and it was
further

RESOLVED, that any and all past actions heretofore taken by officers or directors
of the Company in the name and on behalf of the Company in furtherance of any or all of
the preceding resolutions be, and the same hereby are, ratified, confirmed, and approved.

IN WITNESS WHEREOF, I have hereunto set my hand this er ‘day of, June.

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Signature

Eric J. Werner
Name

Director, Vice President, Secretary, General

Counsel, and Corporate Ethics Officer
Title
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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

Chapter 11

Case No. 06-

LIST OF CREDITORS HOLDING

30 LARGEST UNSECURED CLAIMS

ns

Following is the list of creditors holding the thirty largest unsecured claims.’ The
list has been prepared on a consolidated basis, based upon the consolidated books and records of
the Debtor and its affiliates, Werner Holding Co. (PA), Inc., Werner Co., and WIP Technologies,
Inc. (collectively, the “Debtors”). On the date hereof, such affiliates also commenced chapter 11

cases in this Court.

Except as set forth above, the list has been prepared in accordance with Fed. R.
Bankr. P. 1007(d) for filing in this chapter 11 case. The list does not include (1) persons who
come within the definition of “insider” set forth in 11 U.S.C. § 101 or (2) secured creditors
unless the value of the collateral is such that the unsecured deficiency places the creditor among
the holders of the thirty largest unsecured claims.

 

 

 

 

 

 

 

   
  

 

5/3106"

   

 

$142,782,780

 

 

 

Washington 3701 ED 18
Chihuahua Chih
CP 31200 Mexico

 

 

Tel: 915-309-4126
Fax: +011-52-656-629-2601

 

The Bank of New York (Trustee | Attn: Mary Lagumina Note Debt

for the Notes) Tel: 212-815-4812

101 Barclay Street - 8W Fax: 212-815-7760

New York, NY 10286

Werner Enterprises, Inc.” Attn: John Steele Shipping $1,696,621
14507 Frontier Road Tel: 402-894-3036

Omaha, NE 68138 Fax: 402-894-3990

WXP, Inc. — PS3 and Log Sales | Attn: John Thigpen Trade Debt $1,242,307
93 Werner Road, Building A Tel: 724-588-2000

Greenville, PA 16125 Fax: 724-589-4286

Grupo American Indusiries Attn: Miriam Vazques Trade Debt $1,072,702

 

 

 

 

 

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lower.

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Werner Enterprises, Inc. is not an affiliate of the Debtors.

The information herein shall not constitute an admission of liability by, nor is it binding on, any of the Debtors.

These claim amounts represent maximum potential liabilities. Any actual amounts owed may be significantly
 

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Saint-Gobain Vetrotex America,

   

 

 

 

$821,362

 

 

 

 

 

 

 

 

 

 

 

 

Attn: Rick Fortune Trade Debt
Tne. Tel: 440-964-8820
4515 Allendale Road Fax: 440-964-5390
Wichita Falls, TX 76310
Owens Corning Fiberglass Attn: Joe Arcadi Trade Debt $593,921
One Owens Corning Parkway | Tel: 440-286-5777
Toledo, OH 43659 Fax: 800-237-7755
Comor, Inc. Attn: Bob Deets Trade Debt $571,712
2164 Libre Comercio, Juarez, | Tel: 011-52-656-171-9629
Chichuahua, Mexico Fax: 011-52-656-171-9629
Venture Plastics, Inc. Attn: Bryon Osborne Trade Debt $566,946
PO Box 249 Tel: 330-872-5774
4000 Warren Road Fax: 330-872-3597
Newton Fails, OH 44444
Scanwell Logistics (LAX) Inc. | Attn: Gino Lin Shipping $550,000
615 North Nash Street Tel: 310-640-8800
Suite 202 Fax: 310-640-8808
E] Segundo, CA 90245
AOC Attn: Clark Wade Trade Debt $525,148
2552 Industrial Drive Tel: 614-901-0798
Valparaiso, IN 46383 Fax: 219-465-4427
Century Industries, Inc. Attn: Scott Treadway Trade Debt $467,252
2300 East 145th Street Tel: 501-897-5253
Little Rock, AR 72206 Fax: 501-897-5320
EPI Printers, Inc. Attn: Ron Bosworth Trade Debt $281,717
PO Box 1025 Tel: 724-588-2000 ext. 2355
5350 Dickman Road Fax: 269-968-4260
Battle Creek, MI 49016-1025
Anixter Fasteners Att: Tom Knottek Trade Debt $277,942
1435 Henry Brennan Drive Tel: 915-860-6620
Suite H Fax: 915-860-4898
El Paso, TX 79936
Holiinee Glass Fibers Attn: David Schumaker Trade Debt $262,862
9702 Iron Point Road Tel: 740-394-249]
Shawnee, OH 43782 Fax: 740-394-2496
Bayloff Die & Machine Attn: Richard Bayer Trade Debt $226,181
5910 Bellville Road Tel: 734-397-9116
Van Buren Twp, MI 48111 Fax: 734-397-9125
Coinco, Inc. Attn: Jim Cockley Trade Debt $213,648
PO Box 248 Tel: 814-425-7407
23727 US Highway 322 Fax: 814-425-7489
Cochranton, PA 16314
Suzhou Ronglida Tool Co. Ltd. | Attn: Xiaoyan Xie / Jianyuan Trade Debt $190,918

15#, Dongxin Rd
Xukou Town

Wuzhong District
Suzhou City

Jiangsu Province, China

 

Zhang
Tel: +86-512-6621-1567
Fax: +86-512-6621-4046

 

 

 

 

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El Paso Tool & Die Attn: Sal Robies Trade Debt $160,784
10859 Pellicano Drive Tel: 915-591-0346

El Paso, TX 79935 Fax: 915-591-0390

Hua Feng Lock Products Ltd. | Attn: Iris Lee / WenLie Ho Trade Debt $153,359
South YongNing Industrial Tel: +86-760-226-5895 ext. 858

Road, XiaoLan, Fax: +86-760-227-8063

ZhongShan, GuangDong,

China 528415

Viking Tool & Gage, Inc. Attn: Brian Burns Trade Debi $151,608
11160 State Highway 18 Tel: 814-382-8691

Conneaut Lake, PA 16316 Fax: 814-382-5234

Goshen Stamping Co., Inc. Attn: Jerry Trolz Trade Debt $147,980
1025 § 10th Street Tel: 574-533-4108

Goshen, IN 46526-4401 Fax: 574-534-4189

St Paul Travelers Attn: Peter A. Heard Insurance $145,720
Commercial Lines - National | Tel: 860-277-7827

300 Windsor Street Fax: 860-277-2876

Hartford, CT 06120

Yellow Freight Attn: Gerry Marra Shipping $141,938
P.O. Box 13850 Tel: 412-781-0578

Newark, NJ 07188 Fax: 412-781-9152

Brandywine Distribution Attn: Dane Waters Shipping $131,768
Services Tel: 302-652-7425

1330 East 12th Street Fax: 302-652-7426

Wilmington, DE 19802

Custom-Pak, Inc. Atin: Clay Bahnsen Trade Debt $106,900
86-16th Avenue North Tel: 563-242-1801

Clinton, EA 52732 Fax: 563-244-5325

Integrated Logistics Solutions | Attn: Mickey Remich Trade Debt $106,544
400 Commerce Boulevard Tel: 724-745-7900

Lawrence, PA 15055 Fax: 724-745-7572

Paschall Truck Limes (PASC) | Attn: Allen Crowely Shipping $104,376
PO Box 1889 Tel: 800-626-3374

3443 Highway 641 South Fax: 270-753-1904

Murray, RY 42071

Alcan Ingot & Recycling Attn: Nancy Pudelsky Trade Debt $102,019
6060 Parkland Boulevard Tel: 908-369-2182

Cleveland, OH 44124 Fax: 440-423-6668

United Parcel Service Attn: Doug Fleming Shipping $92,383

PO Box 99985 Tel: 814-833-3670

Pittsburgh, PA 15233 Fax: 814-835-2303

Southwest Tape & Label, Inc. | Attn: Michael Healy Trade Debt $88,817

965 Loma Verde Drive Tel: 915-858-3381

El Paso, TX 79936 Fax: 915-858-8059

 

 

 

 

 

 

 

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DECLARATION UNDER PENALTY OF PERJURY

I, the undersigned authorized officer of Wermer Holding Co. (DE), Inc., the debtor
in this case (the “Debtor”), declare under penalty of perjury that I have read the foregoing list of
equity security holders and corporate ownership statement of the Debtor and that they are true
and correct to the best of my information and belief.

Dated: June we 2006
f

Signature

Eric J, Werner
Name

Director, Vice President, Secretary, General
Counsel, and Corporate Ethics Officer
Title

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
WERNER HOLDING CO. (DE), INC.,

Case No. 06- ( j
Debtor.

LIST OF EQUITY SECURITY HOLDERS AND
CORPORATE OWNERSHIP STATEMENT

Werner Holding Co. (DE), Inc. is wholly owned by Wemer Holding Co. (PA), Inc.!

 

' The List of Equity Security Holders and the Corporate Ownership Statement for Werner Holding Co. (PA), Inc.

is attached to the voluntary petition that it filed concurrently herewith.

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DECLARATION UNDER PENALTY OF PERJURY
I, the undersigned authorized officer of Wemer Holding Co. (DE), Inc., the debtor
in this case (the “Debtor’), declare under penalty of perjury that I have read the foregoing list of
unsecured creditors of the Debtor and its affiliated Debtors and that it is true and correct to the
best of my information and belief.

Dated: June As 2006

Signatire

Larry V. Friend
Name

Vice President. Chief Financial Officer, and Treasurer
Title

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